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   CENTRAL BUSINESS DISTRICT (CBD) TOLLING PROGRAM


   Appendix 17, Environmental
   Justice




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   Acronyms
   ACS....................................................................................................................... American Community Survey
   CBD .............................................................................................................................. Central Business District
   CEQ ............................................................................................................... Council on Environmental Quality
   CP-29 ............................................................................................................................Commissioner Policy 29
   CTPP.................................................................................................. Census Transportation Planning Package
   EA............................................................................................................................ Environmental Assessment
   EJ...................................................................................................................................... Environmental Justice
   FHWA.............................................................................................................. Federal Highway Administration
   HHS ........................................................................................ U.S. Department of Health and Human Services
   NJDEP ........................................................................... New Jersey Department of Environmental Protection
   NYSDEC .............................................................. New York State Department of Environmental Conservation
   NEPA ............................................................................................................ National Environmental Policy Act
   SNAP ............................................................................................ Supplemental Nutrition Assistance Program
   USDOT ........................................................................................................U.S. Department of Transportation
   USEPA ................................................................................................... U.S. Environmental Protection Agency




   Appendix 17A-ii                                                                                                                                        2023



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   17A.1      INTRODUCTION

   Appendix 17 to the Environmental Assessment (EA) for the Central Business District (CBD) Tolling Program
   (the Project) presents supplemental information related to the environmental justice analysis conducted
   for the Project and summarized in Chapter 17, “Environmental Justice,” of the EA. Specifically,
   Appendix 17A provides more detailed information on the methodology used for the analysis. Appendix 17B
   provides detailed maps illustrating the locations of minority and low-income populations in the study areas
   and Appendix 17C includes tables with related census information for all census tracts in the study area.

   This part of Appendix 17 (Appendix 17A) provides an overview of the methodology used for the
   environmental justice analysis and the data sources used (Sections 17A.2 and 17A.3), followed by
   information on the methodology for identifying study areas for the analysis (Section 17A.4), the
   methodology for identifying minority populations (Section 17A.5), and the methodology for identifying low-
   income populations (Section 17A.6).


   17A.2      OVERVIEW OF METHODOLOGY

   The environmental justice analysis evaluates the potential for disproportionately high and adverse effects
   to environmental justice populations, consistent with FHWA’s 2011 Guidance on Environmental Justice and
   the National Environmental Policy Act (NEPA), U.S. Department of Transportation (USDOT) Order 5610.2C,
   and FHWA Order 6640.23A. The following Federal regulatory and guidance documents were used for the
   environmental justice analysis:

   •   Executive Order 12898, Federal Actions to Address Environmental Justice in Minority Populations and
       Low-Income Populations (February 1994) 1

   •   USDOT Order 5610.2C, Department of Transportation Actions to Address Environmental Justice in
       Minority Populations and Low-Income Populations (May 2021) 2
   •   USDOT, Environmental Justice Strategy (November 2016) 3
   •   FHWA Order 6640.23A, FHWA Actions to Address Environmental Justice in Minority Populations and
       Low-Income Populations (June 2012) 4
   •   FHWA, Guidance on Environmental Justice and NEPA (December 2011) 5
   •   FHWA, Environmental Justice Reference Guide (April 2015) 6




   1   https://www.archives.gov/files/federal-register/executive-orders/pdf/12898.pdf.
   2   https://www.transportation.gov/sites/dot.gov/files/Final-for-OST-C-210312-003-signed.pdf.
   3   https://www.transportation.gov/transportation-policy/environmental-justice/environmental-justice-strategy.
   4   https://www.fhwa.dot.gov/legsregs/directives/orders/664023a.cfm.
   5   https://www.environment.fhwa.dot.gov/env_topics/ej/guidance_ejustice-nepa.aspx.
   6   https://www.fhwa.dot.gov/environment/environmental_justice/publications/reference_guide_2015/index.cfm.


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   •   Federal Interagency Working Group on Environmental Justice & NEPA Committee, Promising Practices
       for Environmental Justice Methodologies in NEPA Reviews (March 2016) 7

   The following methodology was used to conduct the environmental justice analysis:

   1. Review Project effects to identify appropriate study areas for analysis of environmental justice.
   2. Identify existing minority and low-income (environmental justice) populations in the study areas.
   3. Determine whether the Project would result in beneficial and/or adverse effects on the identified
      environmental justice populations. This includes consideration of measures to avoid, minimize, and/or
      mitigate any adverse effects of the Project as well as potential offsetting benefits to the affected
      environmental justice populations. Input from environmental justice populations regarding potential
      issues of concern and mitigation measures is an important part of this step.
   4. If adverse effects would remain after implementation of measures to avoid, minimize, or otherwise
      mitigate adverse effects, and taking into account offsetting benefits, identify whether those effects
      would be predominately borne by environmental justice populations or are appreciably more severe
      or greater in magnitude on environmental justice populations than the adverse effect suffered by the
      non-minority or non-low-income population (these are considered disproportionately high and adverse
      effects).
   5. If no disproportionately high and adverse effects are identified, the environmental justice evaluation is
      complete. If disproportionately high and adverse effects on environmental justice populations are
      anticipated, evaluate whether there is a further practicable mitigation measure or practicable
      alternative that would avoid or reduce the disproportionately high and adverse effects. As noted in
      FHWA’s 2011 guidance, if there is a disproportionately high and adverse effect on an environmental
      justice population after taking benefits and mitigation into account, “FHWA will approve the proposed
      action only if it determines that no such practicable measures exist.” In addition, FHWA will not approve
      the proposed action unless it determines “that there is a substantial need for a project, based on the
      overall public interest; and alternatives that would have less adverse effects on protected populations
      have either (a) adverse social, economic, environmental, or human health impacts that are more
      severe; or (b) would involve increased costs of an extraordinary magnitude.”
   6. In addition to assessing the potential for disproportionately high and adverse effects on environmental
      justice populations, the Project Sponsors must provide meaningful opportunities for environmental
      justice populations to provide input on the Project.


   17A.3       DATA SOURCES

   The environmental justice analysis is based on the conclusions of the other chapters of this EA, in
   combination with supplemental data on environmental conditions and information from the U.S. Census

   7   The Project Sponsors reviewed this document in developing the analysis but used the guidance set forth in FHWA’s 2011
       Environmental Justice and NEPA. https://www.epa.gov/sites/production/files/2016-
       08/documents/nepa_promising_practices_document_2016.pdf.


   Appendix 17A-2                                                                                                         2023



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   Bureau. These conclusions were informed, in part, by concerns raised by the public during early public
   outreach for the Project in fall 2021.

   Areas where residents are minority and/or low-income were identified using data from the U.S. Census
   Bureau 2015-2019 American Community Survey (ACS) 5-Year Estimates to identify census tracts that are
   low-income and/or minority. The 2015–2019 ACS 5-Year Estimates are the most current full set of
   demographic information, including racial and ethnic characteristics and household income and poverty
   status, available from the U.S. Census Bureau at the census tract level. The 2020 Census information now
   available does not include a full set of information.

   Socioeconomic characteristics of the traveling public, including minority and low-income populations, were
   based on data from the U.S. Census Bureau’s Census Transportation Planning Package (CTPP). The analysis
   of travel patterns in the regional study area focuses on low-income and minority people who travel to and
   from the Manhattan CBD to evaluate the effects of changing travel patterns on those people. The CTPP
   provides special tabulations, based on the U.S. Census Bureau ACS 5-Year Estimates, that are useful for
   transportation planning, including commuter flow data at varying geographic scales by mode of commute
   and household income. The CTPP data include information on commuter patterns for a range of income
   levels. The most recent CTPP is based on the 2012-2016 ACS 5-Year Estimates and has not been updated
   to reflect more recent ACS data.

   Conclusions about the effects of the CBD Tolling Alternative on low-income and/or minority populations
   and potential measures to avoid, minimize, or mitigate those effects were informed by the early
   environmental justice public outreach for the Project in fall 2021. That outreach included public webinars
   to engage with environmental justice populations throughout the 28-county region, coordination with an
   Environmental Justice Technical Advisory Group, and meetings with an Environmental Justice Stakeholder
   Working Group.


   17A.4     METHODOLOGY FOR IDENTIFYING STUDY AREAS

   17A.4.1 Types of Study Areas

   The environmental justice analysis evaluates two types of potential effects of the CBD Tolling Program,
   neighborhood effects and regional effects:

   •   Local (Neighborhood) Effects: These are effects on local communities. The potential neighborhood
       effects would be primarily related to diverted trips and changes in traffic patterns, and the potential
       resulting effects in terms of traffic congestion, air emissions, and noise.

   •   Regional Effects: These are effects on regional mobility. The analysis considers how implementation of
       the CBD Tolling Alternative would affect the regional population in terms of increased costs (tolls),
       changes in trip time, and changes in transit conditions.




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   To evaluate both types of effects of the CBD Tolling Program on environmental justice populations, two
   different study areas were used:

   •   Local (Neighborhood) Study Area: Based on a review of Project effects identified in other portions of
       the EA, this study area encompasses locations where localized effects (such as changes in traffic
       volumes, air emissions, or noise) would occur with the Project.

   •   Regional Study Area: The regional study area encompasses the 28-county study area that is the main
       catchment area for trips to and from the Manhattan CBD and the area where changes in travel patterns
       and mobility would occur.


   17A.4.2 Review of Effects of CBD Tolling Alternative to Identify Environmental Justice Study
           Areas

   Chapter 16, “Summary of Effects,” of the EA provides a summary of the CBD Tolling Alternative’s effects
   both locally and regionally. FHWA and the Project Sponsors reviewed those conclusions as well as concerns
   raised during public outreach for the Project to adjust the environmental analyses conducted for this EA
   and determine what Project effects have the potential to affect environmental justice populations. This
   informed selection of study areas for the environmental justice analysis and the topics to be considered in
   the analysis.

   The information presented in Chapters 4 through 15 of this EA describe the effects of implementation of
   the CBD Tolling Alternative on the general population and identify potential adverse effects and measures
   to avoid, minimize, or mitigate those effects.

   In addition, during environmental justice public outreach conducted for the Project in fall 2021, members
   of the public raised a number of concerns related to the Project’s potential for effects on environmental
   justice populations, and FHWA and the Project Sponsors reviewed those concerns and included them in
   the analysis of environmental justice. Table 16-1 in Chapter 16, “Summary of Effects,” of the EA identifies
   the overall effects of the Project, compares the effects of the range of tolling scenarios analyzed in the EA,
   and identifies the potential for adverse effects on the overall population. FHWA and the Project Sponsors
   reviewed those conclusions as well as concerns raised during public outreach for the Project to determine
   what Project effects have the potential to affect environmental justice populations. This informed selection
   of study areas for the environmental justice analysis and the topics to be considered in the analysis.


   17A.5       METHODOLOGY FOR IDENTIFYING MINORITY POPULATIONS

   17A.5.1 Definitions

   USDOT Order 5610.2C and FHWA Order 6640.23A include the following definitions related to minority
   populations:




   Appendix 17A-4                                                                                           2023



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   •   Minority: a person who is Black or African American (not Hispanic), American Indian and Alaskan Native,
       Asian American, Native Hawaiian or other Pacific Islander, and Hispanic or Latino.
   •   Minority population: Any readily identifiable groups of minority persons who live in geographic
       proximity, and, if circumstances warrant, geographically dispersed/transient persons, who will be
       similarly affected by a proposed FHWA program, policy, or activity.

   This analysis also includes people who identified themselves as “some other race” or “two or more races”
   in the U.S. Census Bureau 2015–2019 ACS 5-Year Estimates.


   17A.5.2 Minority Populations in Local (Neighborhood) Study Area

   Census tracts were considered to be minority if either: (1) at least 50 percent of the census tract’s
   population identifies as minority; or (2) the percentage of population identifying as minority in the census
   block group exceeds the share of minority population in the county where that census tract is located.


   17A.5.3 Minority Populations in Regional Study Area

   The environmental justice analysis considers the Project’s potential for effects on minority-population
   commuters, travelers, or individuals in specific industries, businesses, or other groups that could be
   affected by increased cost associated with accessing the Manhattan CBD. To identify minority populations
   among these groups, the Project Sponsors used worker flow information from the CTPP.

   Data is available in the CTPP regarding mode of travel by racial/ethnic group, and this data was used to
   identify overall travel patterns for minority people who work in the Manhattan CBD. However, the CTPP
   does not have data on minority commuters’ travel modes that also identifies the locations from which they
   travel. For this information, the Project Sponsors estimated the general locations from which minority
   commuters drive to the Manhattan CBD using a several-step process. For each census tract, information is
   available regarding travel modes for people who travel to work in Manhattan. The analysis assumed that
   the travel modes for all workers traveling to Manhattan from the tract also apply to the minority population
   in those tracts who are traveling to Manhattan for work. Using that assumption, the Project Sponsors
   estimated the number of minority people who commute to work in the Manhattan CBD by travel mode
   from each tract.

   This methodology used data sets available in the CTPP in the first four steps before estimating in the final,
   fifth step:

   1. Identify all census tracts in the 28-county region that are origins for minority people who work in the
      Manhattan CBD: the result is 4,311 census tracts.
   2. For all tracts identified in step 1, identify all tracts that are origins for workers who drive to work in the
      Manhattan CBD: the result is 3,427 census tracts.




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   3. For all tracts identified in step 2, identify tracts that do not have any minority workers who drive to
      work, regardless of destination. The result is 25 tracts, which are then subtracted from those identified
      in step 2, leaving 3,402 census tracts with minority people who work in the Manhattan CBD and
      potentially could drive.
   4. For the tracts identified in Step 3, identify tracts where all workers who commute to the Manhattan
      CBD drive. There are 31 such tracts, with 470 minority workers. Therefore those 470 minority workers
      drive to the Manhattan CBD. Similarly, identify tracts where all workers are minority or all drivers are
      minority. The result of this step is 8,764 minority auto commuters in 345 tracts.
   5. For the remaining 3,060 census tracts, identify the percent of all workers who commute by car to the
      Manhattan CBD and identify the number of minority people who commute to the Manhattan CBD from
      the tract. Apply the auto share percentage to the minority workers, assuming that the same percentage
      of minority workers drives as the percentage of overall workers.

   Table 17A-1 provides a summary of the results using this approach.

   Table 17A-1. Estimating Minority Workers Who Drive to the Manhattan CBD
                      STEP                                     SOURCE                                  RESULT
    1. Census tracts that are the origin for    CTPP data on worker flows between      Total minority workers in the
    minority people who work in the             census tracts, by race                 Manhattan CBD
    Manhattan CBD                                                                      Identification of all census tracts as
                                                                                       origins
    2. Census tracts that are origins for all   CTPP data on worker flows between      Identification of specific census tracts
    workers who drive to the Manhattan          census tracts, by mode                 from which people drive to work to the
    CBD                                                                                Manhattan CBD
    3. Census tracts where no minority          CTPP data on worker origins and mode   Identification of specific census tracts
    workers drive to work                       to work, by race (no destinations)     from which no minority workers can
                                                                                       drive to work in the Manhattan CBD
    4. Census tracts where all workers          CTPP data on worker flows, by race     Total minority commuters to the
    commute to the Manhattan CBD by             and/or by mode                         Manhattan CBD who drive from
    driving, all workers are minority, or all                                          specific identified census tracts
    drivers are minority.
    5. For remaining census tracts, apply       CTPP data on worker flows by mode      Estimated number of minority workers
    overall worker mode share to the            applied to CTPP data on worker flows   who drive to the Manhattan CBD from
    Manhattan CBD to minority people who        by race                                remaining tracts
    work in the Manhattan CBD.
                        RESULTING TOTAL:                                               Estimated total of minority workers
                                                                                       who drive to the Manhattan CBD
                                                                                       and from which specific census
                                                                                       tracts




   Appendix 17A-6                                                                                                          2023



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   17A.6       METHODOLOGY FOR IDENTIFYING LOW-INCOME POPULATIONS

   17A.6.1 Definitions

   USDOT Order 5610.2C and FHWA Order 6640.23A include the following definitions related to minority
   populations:

   •    Low-Income: A person whose household income is at or below the U.S. Department of Health and
        Human Services (HHS) poverty guidelines.

   •    Low-Income Population: Any readily identifiable groups of low-income persons who live in geographic
        proximity, and, if circumstances warrant, geographically dispersed/transient persons who will be
        similarly affected by a proposed FHWA program, policy, or activity.

   The U.S. Census Bureau identifies households and household income. According to the U.S. Census Bureau,
   a household “includes all the persons who occupy a housing unit as their usual place of residence.” 8

   The analysis for this Project used information on the number of households living in poverty from the U.S.
   Census Bureau 2015–2019 ACS 5-Year Estimates. The HHS poverty guidelines are based on annual statistical
   poverty thresholds from the U.S. Census Bureau. 9 The U.S. Census Bureau poverty thresholds are used to
   identify the population living in poverty for statistical purposes, while the HHS poverty guidelines are used
   to determine eligibility for Federal programs. Poverty thresholds vary by family size and composition, while
   poverty guidelines vary by household size and geographic location and both are updated annually. 10

   The environmental justice analysis used information from the U.S. Census Bureau’s 2015-2019 ACS 5-Year
   Estimates to identify low-income census tracts in the study area. Information on the population with
   household incomes below the poverty thresholds as defined by the U.S. Census Bureau is available at a
   local (census tract) level, whereas information on the HHS poverty guideline is not. However, as the HHS
   poverty guidelines are based on the Census Bureau threshold, the latter is commonly used as a proxy for
   the former.

   Based on a review of potential methodologies and consideration of a number of critical factors, the Project
   Sponsors in consultation with FHWA identified income thresholds to be used in identifying low-income
   populations that are appropriate for identifying low-income populations in the Project study area and
   reflect local conditions and cost of living in the study area.




   8    https://www.census.gov/quickfacts/fact/note/US/HSD410219.
   9    https://aspe.hhs.gov/frequently-asked-questions-related-poverty-guidelines-and-poverty.
   10   This approach is recommended in the Federal Interagency Working Group on Environmental Justice & NEPA Committee’s
        Promising Practices for Environmental Justice Methodologies in NEPA Reviews (2016).


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   17A.6.2 Low-Income Populations in Local (Neighborhood) Study Area

   17A.6.2.1           Approach
   The Project Sponsors identified census tracts with low-income populations using a low-income threshold
   of twice the Federal poverty threshold. (More specifically, the Project Sponsors used data from the U.S.
   Census on the number of individuals in each census tract with household incomes up to 1.99 times the
   Federal poverty threshold. For simplicity, this analysis refers to that information as twice the Federal
   poverty threshold.) This income level was used to identify low-income census tracts as follows:

   1. The percentage of individuals with household incomes up to twice the Federal poverty threshold in
      each census tract was identified and compared to that percentage for a larger reference area. Census
      tracts with a higher percentage of population with household incomes at or below twice the Federal
      poverty threshold were considered low-income.
   2. The reference area for comparison was the regional 28-county study area.

   The rationale for those two steps is described below.

   17A.6.2.2           Rationale for Low-Income Threshold for Census Tracts
   Executive Order 12898, Federal Actions to Address Environmental Justice in Minority Populations and Low-
   Income Populations (February 11, 1994), directs Federal agencies to identify and address, as appropriate,
   disproportionately high and adverse effects of Federal actions on minority and low-income populations.
   That document does not define “low-income.” While the USDOT Order 5610.2C and FHWA Order 6640.23A
   define low-income populations as people living below the HHS poverty guideline, the 2011 FHWA guidance
   document notes that Project Sponsors may adopt a more inclusive threshold for low-income as long as it
   is inclusive of all persons at or below the Federal poverty guidelines. 11 The Project Sponsors used a
   threshold for identifying populations living in poverty that is specific to the Project context, recognizing that
   the level of income that constitutes poverty is higher in the New York metropolitan region than it is
   nationwide, given the higher cost of many items, and particularly housing, in the New York City area.

   In identifying the low-income threshold of twice the Federal poverty threshold, the Project Sponsors
   considered the following factors, to ensure that the approach reflects the local context for the Project and
   employs an appropriate methodological approach:

   •    The threshold used for identifying low-income census tracts should relate to the Federal poverty
        threshold, rather than to a specific household income level. The Federal poverty threshold incorporates
        consideration of household size and composition, which is important in identifying a household’s
        economic strength.


   11   The U.S. Census Bureau has established poverty thresholds to identify the population living in poverty, which are updated
        each year. These can be used to identify the population living in poverty in a specific location, such as a census tract. The
        HHS poverty guidelines are a simplified version of those Federal poverty thresholds that are used for administrative
        purposes—for instance, determining financial eligibility for certain Federal programs. https://aspe.hhs.gov/frequently-
        asked-questions-related-poverty-guidelines-and-poverty.


   Appendix 17A-8                                                                                                                 2023



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   •      The threshold used for identifying low-income census tracts should be consistent with relevant
          guidance developed by Federal, state, and local agencies.
   •      The threshold used for identifying low-income census tracts should be based on data that is readily
          available at a census tract level from the U.S. Census, without adjustments and estimations that might
          make the results difficult to explain or less clearly reliable.

   These considerations are described below.

   Relationship to Federal Poverty Threshold
   An important consideration in selecting the threshold for identifying low-income census tracts is that it
   should relate to the Federal poverty threshold, rather than to a specific household income level. The
   Federal poverty threshold incorporates consideration of household size and composition, which is
   important in identifying a household’s economic strength.

   The Federal poverty threshold varies by family size, number of children, and number of people over age
   65. As shown Table 17A-2, for 2019, the poverty threshold ranged from a household income of $13,011 for
   a one-person household to $52,875 for a family of nine people or more. 12 The values shown in this table
   from the U.S. Census Bureau are weighted averages for the actual more detailed thresholds, which account
   for the age of the head of household and number of children in the family.

   Table 17A-2. 2019 Federal Poverty Threshold by Family Size
               SIZE OF FAMILY UNIT                WEIGHTED AVERAGE THRESHOLD
       One person                                               $13,011
       Two people                                               $16,521
       Three people                                             $20,335
       Four people                                              $26,172
       Five people                                              $31,021
       Six people                                               $35,129
       Seven people                                             $40,016
       Eight people                                             $44,461
       Nine people or more                                      $52,875
       Source: U.S. Census Bureau.
       Note:   The poverty thresholds for each family size include specific amounts
               that vary depending on the age of the primary householder (under
               age 65 or over age 65) and the number of related children under 18
               years old in the family.

   Based on the information in Table 17A-2, identifying an income threshold that is not tied to household size
   and composition would not adequately represent the economic strength of households in a specific census
   tract.



   12     Please note that the Project Sponsors used 2019 census data in the EA, since 2019 is the most recent year for which full sets
          of census data are available.


   2023                                                                                                              Appendix 17A-9



                                                                                                                                   DOT_0006975
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   Guidance from Federal, State, and Local Agencies Related to Populations in Poverty
   The Project Sponsors reviewed a range of different Federal, state, and local programs, guidance, and
   policies related to identifying low-income populations and populations in poverty. Methodologies and
   approaches vary, depending on the purpose of the specific program or policy. A number of key programs
   and guidance documents support the use of twice the Federal poverty threshold in identifying low-income
   populations, including those described below.

   U.S. Environmental Protection Agency EJSCREEN
   The U.S. Environmental Protection Agency (USEPA) has developed an environmental justice mapping and
   screening tool, EJSCREEN, that uses demographic information and environmental indicators to identify
   geographic areas of concern in environmental justice analyses for projects subject to approval by EPA
   (https://www.epa.gov/ejscreen). To identify low-income populations, the EPA screening tool identifies the
   percent of a census block group’s population with household income less than or equal to twice the Federal
   poverty threshold.

   The technical documentation for EPA’s environmental justice screening tool explains the rationale for using
   twice the Federal poverty level (see Appendix B of the EJSCREEN Technical Documentation). 13 The
   explanation provided includes the following:

   •    “The effects of income on baseline health and probably on other aspects of susceptibility are not
        limited to those below the poverty thresholds—those from 1x to 2x poverty also have worse health
        overall than those with higher incomes . . . , and asthma rates, for example, begin to increase as income
        falls below twice the poverty threshold.”
   •    “Many studies in various fields use 2x times poverty, and many others use 1x poverty; the same is true
        for prior EPA screening tools. There is precedent for both. However, a rationale often mentioned is that
        today's poverty thresholds are too low to adequately capture the populations adversely affected by
        low income levels, especially in high-cost areas. Some analysts have concluded that the amount of
        income actually required for basic living costs without government support is far higher than the
        current Federal poverty thresholds.”

   Guidance Related to Justice40 Initiative
   On January 27, 2021, President Biden signed Executive Order 14008, Tackling the Climate Crisis at Home
   and Abroad, which established an environmental justice initiative known as “Justice40.” The Executive
   Order established a goal that for the Federal government’s investments in certain areas, 40 percent of the
   overall benefits of these investments should benefit disadvantaged communities.

   As part of the government-wide Justice40 initiative, the Council on Environmental Quality (CEQ), in
   partnership with the U.S. Digital Service, developed a geospatial Climate and Economic Justice Screening
   Tool. That screening tool includes interactive maps to assist agencies in defining and identifying
   disadvantaged communities at the census tract level. A preliminary version of the screening tool is currently

   13   https://www.epa.gov/sites/default/files/2021-04/documents/ejscreen_technical_document.pdf.


   Appendix 17A-10                                                                                          2023



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   available for public comment (https://screeningtool.geoplatform.gov/en/about). One of the factors the
   Climate and Economic Justice Screening Tool uses for identifying disadvantaged communities is related to
   low-income status, where the low-income population is defined as the percent of a census tract’s
   population where household income is at or below twice the Federal poverty level. 14

   New York State Environmental Justice Policy
   In 2003, the New York State Department of Environmental Conservation (NYSDEC) issued a policy
   statement related to incorporating environmental justice concerns in the agency’s permitting processes.
   That policy statement, Commissioner Policy 29 (CP-29), Environmental Justice and Permitting, is still in
   effect today. CP-29 identifies a low-income population to be a population with annual income less than the
   Federal poverty threshold.

   New Jersey Environmental Justice Screen
   In 2020, New Jersey Governor Phil Murphy signed a statewide Environmental Justice Law, which requires
   the New Jersey Department of Environmental Protection (NJDEP) to evaluate the environmental and public
   health impacts of certain facilities on overburdened communities when reviewing certain permit
   applications. That law defines an overburdened community based on the percentage of low-income
   households, the percentage of minority residents, and/or the percentage of households with limited
   English proficiency. Low-income households are defined as those at or below twice the Federal poverty
   threshold as determined by the U.S. Census Bureau. 15

   New York City Local Poverty Threshold
   The City of New York produces and publishes each year its own poverty measure, which considers the
   higher cost of living in New York City relative to many other areas of the U.S. This information is available
   at https://www1.nyc.gov/site/opportunity/poverty-in-nyc/poverty-measure.page.

   The New York City poverty measure is based on national data on family spending for necessities (food,
   clothing, shelter, and utilities), but is adjusted for family size and the higher cost of housing in New York
   City. It also reflects many factors that are in place to address local poverty, including nutrition assistance
   (the Federal Supplemental Nutrition Assistance Program [SNAP], free school meals, and the Special
   Supplemental Nutrition Program for Women, Infants, and Children), housing assistance (including public,
   subsidized, and rent-regulated apartments), and home heating assistance. It also reflects nondiscretionary
   spending, such as child-care and transit costs and out-of-pocket medical expenses.

   Like the Federal threshold, the New York City poverty threshold varies depending on the size of the family
   and the number of children in the family. The annual report published in 2021, which presents poverty data
   for 2019 (the most recent report for which detailed appendices are available) presents a comparison of the
   Federal poverty threshold and New York City poverty threshold. That information is presented in
   Table 17A-3.


   14   https://screeningtool.geoplatform.gov/en/methodology.
   15   https://www.nj.gov/dep/ej/policy.html.


   2023                                                                                                     Appendix 17A-11



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   Table 17A-3. Comparison of New York City and Federal Poverty Thresholds for 2019
                                        2019 NEW YORK CITY            2019 FEDERAL POVERTY           RATIO OF NEW YORK CITY
              FAMILY SIZE              POVERTY THRESHOLD                    THRESHOLD                TO FEDERAL THRESHOLD
    One Adult, No Children                     $16,806                        $13,300                           1.26
    Two Adults, No Children                    $23,697                        $17,120                           1.38
    One Adult, One Child                       $25,360                        $17,622                           1.44
    One Adult, Two Children                    $30,108                        $20,598                           1.46
    One Adult, Three Children                  $34,552                        $26,107                           1.33
    Two Adults, One Child                      $31,917                        $20,578                           1.55
    Two Adults, Two Children                   $36,262                        $25,926                           1.40
    Two Adults, Three Children                 $40,394                        $30,510                           1.32
   Sources:    U.S. Census Bureau and Office of the Mayor, New York City Government Poverty Measures 2019, Appendix B,
               Defining a Poverty Threshold for New York City, Table B.3. https://www1.nyc.gov/site/opportunity/poverty-in-
               nyc/poverty-measure.page.

   As defined in the report, the poverty threshold represents “the minimal socially acceptable measure of
   resources necessary for a family of a particular size.” New York City also defines a “near-poverty” threshold
   for families that have incomes within 150 percent of the New York City poverty threshold. Table 17A-4
   presents the near-poverty thresholds as defined by New York City and their resulting ratio to the Federal
   poverty threshold for 2019. Based on the information from Table 17A-2, this near-poverty threshold aligns
   with the use of twice the Federal poverty threshold for identifying low-income households.

   Table 17A-4. Comparison of New York City “Near Poverty” Threshold and Federal Poverty Threshold
                for 2019
                                        2019 NEW YORK CITY
                                          NEAR POVERTY                2019 FEDERAL POVERTY           RATIO OF NEW YORK CITY
              FAMILY SIZE                   THRESHOLD                       THRESHOLD                TO FEDERAL THRESHOLD
    One Adult, No Children                     $25,209                        $13,300                           1.90
    Two Adults, No Children                    $35,545                        $17,120                           2.08
    One Adult, One Child                       $38,041                        $17,622                           2.16
    One Adult, Two Children                    $45,161                        $20,598                           2.19
    One Adult, Three Children                  $51,829                        $26,107                           1.99
    Two Adults, One Child                      $47,876                        $20,578                           2.33
    Two Adults, Two Children                   $54,393                        $25,926                           2.10
    Two Adults, Three Children                 $60,591                        $30,510                           1.99
   Source:     U.S. Census Bureau and Office of the Mayor, New York City Government Poverty Measures 2018, Appendix B,
               Defining a Poverty Threshold for New York City, Table B.7. https://www1.nyc.gov/site/opportunity/poverty-in-
               nyc/poverty-measure.page.



   New York City Environmental Justice Initiative
   In addition to the local poverty measure that the City of New York developed and updates annually, in 2017
   then-Mayor Bill de Blasio signed into law Local Law 60, which required that a citywide study of
   environmental justice be conducted and summarized in a report, the Environmental Justice for All Report.
   The law also required the creation of an online environmental justice portal with a mapping tool for
   environmental justice data.


   Appendix 17A-12                                                                                                            2023



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   In December 2021, the City published the proposed scope of work for the Environmental Justice for All
   Report for public review and comment (https://www1.nyc.gov/assets/sustainability/downloads/pdf/EJ-
   Report-Scope.pdf). As outlined in that scope, environmental justice areas will be identified in that report
   based on the presence of low-income or minority populations. Low-income populations are defined as
   populations with annual incomes less than the poverty threshold established by the U.S. Census Bureau.

   New York City Fair Fares Program
   Also relevant for the analysis as a policy related to ability to pay for costs of travel, is New York City’s “Fair
   Fares” program, a program developed by the City of New York to provide low-income New York City
   residents with half-price transit fares. This program provides a 50 percent discount for subway and local
   bus fares as well as the cost of Access-A-Ride paratransit trips. The Fair Fares program is available to eligible
   New York City residents with incomes at or below the Federal poverty level.

   Summary
   A number of different programs for identifying economically disadvantaged populations for purposes of
   evaluating and addressing environmental justice and transportation equity support identifying low-income
   populations as people in households with incomes up to twice the Federal poverty threshold. At the Federal
   level, these include EPA’s EJSCREEN and the preliminary guidance and screening tools developed for the
   Justice40 initiative. At the state level, they include New York State environmental justice thresholds for
   permitting and New Jersey’s Environmental Justice Law. In New York City, a locally developed poverty
   measure reflecting the specific cost of living factors in the city is also consistent with a threshold at twice
   the Federal poverty level.

   Data Readily Available from the U.S. Census
   Using twice the Federal poverty threshold as an indicator of low-income population is consistent with a
   goal of using a threshold that is based on data that is readily available at a census tract level from the U.S.
   Census, without adjustments and estimations that might make the results difficult to explain or less clearly
   reliable. The U.S. Census includes information on the number of individuals with household incomes at or
   below the Federal poverty threshold at the census tract level. It also includes information about the number
   of individuals with household incomes of up to twice (1.99 times) the Federal poverty threshold, as well as
   other multiples of the poverty threshold. This information reflects the family size and composition of each
   individual as well as their household income in identifying their income status relative to the poverty
   threshold.

   17A.6.2.3        Rationale for Reference Area for Census Tracts
   The methodology for identifying low-income census tracts involves comparing the percent of the
   population in each tract at or below the selected indicator (in this case, a threshold of twice the Federal
   poverty threshold) to the percent in a reference area. This ensures that the results reflect the local context,
   by determining whether the census tract has more people living below the indicator than the general
   population of the area. Reference areas are typically larger than the area where a project is proposed, so
   that they can reasonably represent the general population. The Federal Interagency Working Group on



   2023                                                                                                  Appendix 17A-13



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   Environmental Justice & NEPA Committee’s publication, Promising Practices for Methodologies in NEPA
   Reviews (March 2016), lists as examples of reference areas the county or state where a project is proposed.

   Consistent with this approach, the EPA’s EJSCREEN provides information on the percent of population in a
   given census block group in comparison to the percent in the state where that tract is located. Information
   is presented as percentiles, showing how much the census tract differs from the state level—the percentiles
   illustrate what percent of the state population has a higher value than the census tract.

   For the CBD Tolling Program, given the Project’s potential wide-ranging effects across a 28-county study
   area, a large reference area is appropriate. This avoids the potential of missing low-income populations,
   which might occur if a smaller area with a higher proportion of low-income people were selected. For this
   reason, the Project Sponsors used the 28-county region as the reference area. The proportion of low-
   income populations in the 28-county region was calculated as (1) the sum of individuals living in households
   with incomes up to twice (1.99 times) the Federal poverty rate in each of the 28 counties in the region
   divided by (2) the sum of individuals for whom poverty status has been determined in those same counties.


   17A.6.3 Low-Income Populations in Regional Study Area

   Similar to the approach for minority-population commuters, the environmental justice analysis also
   considers the Project’s potential for effects on low-income-population commuters, travelers, or individuals
   in specific industries, businesses, or other groups that could be affected by increased costs associated with
   accessing the Manhattan CBD.

   17A.6.3.1          Approach
   To identify low-income commuters to the Manhattan CBD, data from the CTPP related to worker flows by
   income and mode was used. Information available from the CTPP that aligns as closely as possible with the
   threshold for census tracts was used to identify low-income drivers. A household income threshold of
   $50,000 was used to identify low-income drivers. The rationale for this threshold is described below.

   17A.6.3.2          Rationale for Methodology to Identify Low-Income Commuters
   In identifying the low-income threshold for travelers in the regional study area, the Project Sponsors
   considered the following factors, to ensure that the approach reflects the local context for the Project and
   employs an appropriate methodological approach:

   •   The threshold used for identifying low-income commuters (and other travelers) should align, to the
       extent practicable, with the threshold used for identifying low-income census tracts.

   •   The threshold used for identifying low-income commuters (and other travelers) should be based on
       data that is readily available from the U.S. Census, without adjustments and estimations that might
       make the results difficult to explain or less clearly reliable.

   Information on workers who travel to and from the Manhattan CBD for work is available from the CTPP, a
   product prepared by the U.S. Census Bureau. The CTPP provides information on flows of workers between



   Appendix 17A-14                                                                                         2023



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   their home census tracts and work destinations. That information is available by travel mode for a range of
   household incomes. For travel mode by household income, data are available for the following household
   income categories:

   •   Up to $34,999
   •   $35,000-$49,999
   •   $50,000-$74,999
   •   $75,000 or more

   However, the CTPP does not include information on the household size and composition for these
   commuters, so it is not possible to determine whether they have household incomes that are at or below
   twice the Federal poverty level, which is the low-income threshold for identifying low-income census tracts.
   Instead, a single household income threshold must be defined to identify low-income commuters. For this
   Project, the income threshold to define low-income travelers was based on the income threshold used to
   define low-income census tracts, twice the Federal poverty level, assuming the average household size in
   the Project study area.

   As noted earlier and presented in Table 17A-2 above, the Federal poverty threshold varies by family size,
   number of children, and number of people over age 65. The average household size for the Project study
   area is 2.8 people per household, based on the following average household sizes in 2019:

   •   28-county regional study area: 2.78 persons per household
   •   10-county study area consisting of New York City and the immediately surrounding areas: 2.82 persons
       per household
   •   New York City: 2.81 persons per household

   Consequently, the Federal poverty threshold for the average-size family in the Project study area was
   approximately $20,335 in 2019 (see Table 17A-2), and twice the Federal poverty threshold was
   approximately $41,000.

   Using the household income ranges available from the CTPP, the environmental justice analysis considered
   all workers with household incomes up to $50,000 as low-income. This is approximately equivalent to,
   although higher than, the low-income threshold of twice the Federal poverty threshold for a three-person
   family, which is the average household size for the Project study area. Using this threshold allowed the
   Project Sponsors to use data directly available from the CTPP, without the need for adjustments or
   estimations.




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                     17B, Environmental Justice Profile
                                 of Study Areas: Maps
                     •   Local Study Area Neighborhoods

                         −   Overview of Local Study Area
                         −   Central Business District, New York County (Manhattan), NY
                         −   Outside Central Business District, New York County (Manhattan), NY
                         −   Bronx County, NY
                         −   Kings County (Brooklyn), NY
                         −   Queens County, NY
                         −   Richmond County, NY
                         −   Nassau County, NY
                         −   Bergen County, NJ
                         −   Essex County and Union County, NJ
                         −   Hudson County, NJ

                     •   Regional Study Area Neighborhoods Outside Local Study Area

                         −   Overview of Regional Study Area
                         −   Connecticut Counties: Fairfield and New Haven Counties
                         −   New Jersey Northern Counties: Hunterdon, Morris, Passaic, Somerset,
                             Sussex, and Warren Counties
                         −   New Jersey Southern Counties: Mercer, Middlesex, Monmouth, and
                             Ocean Counties
                         −   New York Counties North of New York City: Dutchess, Putnam, Orange,
                             Rockland, and Westchester Counties
                         −   Long Island County: Suffolk County, NY




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                     17B, Environmental Justice Profile
                                 of Study Areas: Maps
                     •   Local Study Area Neighborhoods

                         −   Overview of Local Study Area
                         −   Central Business District, New York County (Manhattan), NY
                         −   Outside Central Business District, New York County (Manhattan), NY
                         −   Bronx County, NY
                         −   Kings County (Brooklyn), NY
                         −   Queens County, NY
                         −   Richmond County, NY
                         −   Nassau County, NY
                         −   Bergen County, NJ
                         −   Essex County and Union County, NJ
                         −   Hudson County, NJ

                     •   Regional Study Area Neighborhoods Outside Local Study Area

                         −   Overview of Regional Study Area
                         −   Connecticut Counties: Fairfield and New Haven Counties
                         −   New Jersey Northern Counties: Hunterdon, Morris, Passaic, Somerset,
                             Sussex, and Warren Counties
                         −   New Jersey Southern Counties: Mercer, Middlesex, Monmouth, and
                             Ocean Counties
                         −   New York Counties North of New York City: Dutchess, Putnam, Orange,
                             Rockland, and Westchester Counties
                         −   Long Island County: Suffolk County, NY




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                  LOCAL STUDY AREA NEIGHBORHOODS




   2023                                                             Appendix 17B-2

                                                                              DOT_0006986
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Figure 17B-1.      Overview of Local Study Area




Source:   U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.




2023                                                                                                  Appendix 17B-3

                                                                                                                DOT_0006987
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   Figure 17B-2.         Central Business District, New York County (Manhattan), NY




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note: Refer to Appendix 17C, Table 17C-1 for specific information pertaining to this figure.




   2023                                                                                           Appendix 17B-4

                                                                                                            DOT_0006988
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   Figure 17B-3.         Outside Central Business District, New York County (Manhattan), NY




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note: Refer to Appendix 17C, Table 17C-2 for specific information pertaining to this figure.




   2023                                                                                           Appendix 17B-5

                                                                                                            DOT_0006989
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   Figure 17B-4.         Bronx County, NY




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note: Refer to Appendix 17C, Table 17C-3 for specific information pertaining to this figure.




   2023                                                                                           Appendix 17B-6

                                                                                                            DOT_0006990
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   Figure 17B-5.         Kings County (Brooklyn), NY




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note: Refer to Appendix 17C, Table 17C-4 for specific information pertaining to this figure.




   2023                                                                                           Appendix 17B-7

                                                                                                            DOT_0006991
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   Figure 17B-6.         Queens County, NY




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note: Refer to Appendix 17C, Table 17C-5 for specific information pertaining to this figure.




   2023                                                                                           Appendix 17B-8

                                                                                                            DOT_0006992
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   Figure 17B-7.         Richmond County, NY




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note: Refer to Appendix 17C, Table 17C-3 for specific information pertaining to this figure.




   2023                                                                                           Appendix 17B-9

                                                                                                            DOT_0006993
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   Figure 17B-8.         Nassau County, NY




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note: Refer to Appendix 17C, Table 17C-7 for specific information pertaining to this figure.




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                                                                                                              DOT_0006994
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   Figure 17B-9.         Bergen County, NJ




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note: Refer to Appendix 17C, Table 17C-8 for specific information pertaining to this figure.




   2023                                                                                           Appendix 17B-11

                                                                                                              DOT_0006995
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   Figure 17B-10.       Essex County and Union County, NJ




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note:   Refer to Appendix 17C, Table 17C-9 (Essex County) and Table 17C-11 (Union County) for specific information pertaining
           to this figure.




   2023                                                                                                       Appendix 17B-12

                                                                                                                            DOT_0006996
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   Figure 17B-11.        Hudson County, NJ




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note:   Refer to Appendix 17C, Table 17C-10 for specific information pertaining to this figure.




   2023                                                                                              Appendix 17B-13

                                                                                                                 DOT_0006997
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                REGIONAL STUDY AREA NEIGHBORHOODS
                     OUTSIDE LOCAL STUDY AREA




   2023                                                             Appendix 17B-14

                                                                                DOT_0006998
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Figure 17B-12.      Overview of Regional Study Area




Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.




2023                                                                                               Appendix 17B-15

                                                                                                               DOT_0006999
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   Figure 17B-13.       Connecticut Counties: Fairfield and New Haven Counties




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note:   Refer to Appendix 17C, Table 17C-12 (Fairfield County) and Table 17C-13 (New Haven County) for specific information
           pertaining to this figure.




   2023                                                                                                      Appendix 17B-16

                                                                                                                            DOT_0007000
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   Figure 17B-14.       New Jersey Northern Counties: Hunterdon, Morris, Passaic, Somerset, Sussex, and
                        Warren Counties




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note:   Refer to Appendix 17C, Table 17C-14 (Hunterdon County), Table 17C-18 (Morris County), Table 17C-20 (Passaic
           County), Table 17C-21 (Somerset County), Table 17C-22 (Sussex County), and Table 17C-23 (Warren County) for specific
           information pertaining to this figure.




   2023                                                                                                     Appendix 17B-17

                                                                                                                           DOT_0007001
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   Figure 17B-15.      New Jersey Southern Counties: Mercer, Middlesex, Monmouth, and Ocean Counties




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note:   Refer to Appendix 17C, Table 17C-15 (Mercer County), Table 17C-16 (Middlesex County), Table 17C-17 (Monmouth
           County), and Table 17C-19 (Ocean County) for specific information pertaining to this figure.




   2023                                                                                                  Appendix 17B-18

                                                                                                                          DOT_0007002
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   Figure 17B-16.       New York Counties North of New York City: Dutchess, Putnam, Orange, Rockland, and
                        Westchester Counties




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note:   Refer to Appendix 17C, Table 17C-24 (Dutchess County), Table 17C-26 (Putnam County), Table 17C-25 (Orange County),
           Table 17C-27 (Rockland County), and Table 17C-29 (Westchester County) for specific information pertaining to this
           figure.




   2023                                                                                                    Appendix 17B-19

                                                                                                                         DOT_0007003
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   Figure 17B-17.        Long Island County: Suffolk County, NY




   Source: U.S. Census Bureau American Community Survey 2015–2019 5-Year Estimates.
   Note:   Refer to Appendix 17C, Table 17C-28 (Suffolk County) for specific information pertaining to this figure.




   2023                                                                                                          Appendix 17B-20

                                                                                                                             DOT_0007004
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                                      Central Business
                                              Business District
                                                       District (CBD)
                                                                (CBD) Tolling
                                                                      Tolling Program
                                                                              ProgramEnvironmental
                                                                                      EnvironmentalAssessment
                                                                                                    Assessment
                                                                             Appendix 17C, Environmental
                                                                                           Environmental Justice
                                                                                                         Justice




                  17C, Environmental Justice
                                      Justice Profile
                                              Profile
                              of Study Areas: Tables
                   •   Local Study Area Neighborhoods
                                        Neighborhoods
                       −   Central Business District,
                                            District, New
                                                      New York
                                                            YorkCounty
                                                                 County(Manhattan),
                                                                        (Manhattan),NY
                                                                                    NY
                       −   Outside Central Business
                                           Business District,
                                                      District,New
                                                               NewYork
                                                                    YorkCounty
                                                                         County(Manhattan),
                                                                                (Manhattan),NY
                                                                                            NY
                       −   Bronx County, NY
                       −   Kings County (Brooklyn), NY
                       −   Queens County, NY
                       −   Richmond County, NY
                       −   Nassau County, NY
                       −   Bergen County, NJ
                       −   Essex County, NJ
                       −   Hudson County, NJ
                       −   Union County, NJ
                   •   Regional Study Area Neighborhoods
                                           Neighborhoods Outside
                                                         Outside Local
                                                                 LocalStudy
                                                                       StudyArea
                                                                            Area
                       −   Fairfield County, CT
                                             CT
                       −   New Haven County, CT
                       −   Hunterdon County, NJ
                       −   Mercer County, NJ
                       −   Middlesex County, NJ
                       −   Monmouth County, NJ  NJ
                       −   Morris County, NJ
                       −   Ocean County, NJ
                       −   Passaic County, NJ
                       −   Somerset County, NJ
                       −   Sussex County, NJ
                       −   Warren County, NJ
                       −   Dutchess County, NY
                       −   Orange County, NY
                       −   Putnam County, NY
                       −   Rockland County, NYNY
                       −   Suffolk County, NY
                       −   Westchester County, NY




   2023                                                                                            Appendix 17C-1

                                                                                                                   DOT_0007005
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Central Business
        Business District
                 District (CBD)
                          (CBD) Tolling
                                 Tolling Program
                                         ProgramEnvironmental
                                                  EnvironmentalAssessment
                                                                 Assessment
Appendix 17C, Environmental
               EnvironmentalJustice:
                                Justice:Environmental
                                          EnvironmentalJustice
                                                        JusticeProfile
                                                                ProfileofofStudy
                                                                            StudyAreas:
                                                                                  Areas:Tables
                                                                                         Tables




                                                     LOCAL STUDY AREA NEIGHBORHOODS
                                                                      NEIGHBORHOODS




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                                                                                                        Appendix 17C-2

                                                                                                                  DOT_0007006
